       i Case 3:15-cr-00898-BEN
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      ~AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case

                 Sheet 1



                                               UNITED STATES DISTRICT COURT
                                                                                                                                                     ::cmf
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                                                  CN.J~OnNIA


                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE                                 -rJ1   DCVn"
                                         v.                                          (For Offenses Committed On or After November I, 1987)

                           EFRAIN SOBAMPO (I)                                        Case Number: 15CR0898-BEN
                                                                                     FD BY ROXANA SANDOVAL
                                                                                     Defendant's Attorney
      REGISTRATION NO. 44305298

      D
      THE DEFENDANT:
      181 pleaded guilty to count(s) I AND 2 OF THE INDICTMENT.

      D was found guilty on count(s)' _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
      Title & Section                         Nature of Offeuse                                                                             Number(s)
8 USC 1324(a)(I)(A)(ii),              TRANSPORTATION OF ILLEGAL ALIENS FOR FINANCIAL GAIN AND                                                     1,2
(v)(II) and (a)(I)(B)(i)              AND AIDING AND ABETTING




        The defendant is sentenced as provided in pages 2 through                2         of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o   The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  D Count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is DareD dismissed on the motion of the United States.
  181 Assessment: $200.00 ($100.00 per count) WAIVED.


  181 Fine waived                                   D Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ ' included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                               15CR0898-BEN
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AD 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                  Judgment - Page _...;;;.2_    of    2
 DEFENDANT: EFRAIN SOBAMPO (1)
 CASE NUMBER: lSCR0898-BEN
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED.



     D Sentence imposed pursuant to Title 8 USC Section 1326(b).
     D The court makes the following recommendations to the Bureau of Prisons:



     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shan surrender to the United States Marshal for this district:
           D at                                    Da.m.       Dp.m.      on
               as notified by the United States Marshal.

     D The defendant shan surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D    before
          D
                        -------------------------------------------------
               as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed this judgment as follows:

        Defendant delivered on                                                       to

at                                                    with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL

                                                                       By
                                                                                           DEPUTY UNITED STATES MARSHAL




                                                                                                                               ISCR0898-BEN
